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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

JACQUELINE MCNEILL,                              :
                                                 :
                            Plaintiffs,          :
                                                 :
v.                                               :      No. 3:15-cv-00565-AWT
                                                 :
CENTURY FINANCIAL SERVICES, INC.,                :
                                                 :
                            Defendants.          :

                             STIPULATION OF DISMISSAL

       The Plaintiff and Defendant, by and through the undersigned, hereby stipulate

that the above entitled action shall be dismissed with prejudice to Plaintiff on her

complaint and without costs and/or attorney's fees to any party. 


 PLAINTIFF                                 DEFENDANT
 JACQUELINE McNEILL                        CENTURY FINANCIAL SERVICES,
                                           INC.

 __/s/                _______              ________/s/ ________________
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SO ORDERED
